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      IN THE UNITED STATES DISTRICT COURT
      FOR THE EASTERN DISTRICT OF NEW YORK

      ---------------------------------------------------------------------- )(
      MATIUS GERARDO GRIECK d/b/a +ISM,
                                                                                        12-CV-0292
                                                  Plaintiff,                           (SLT) (JMA)
              -against-

      TITLEBOY FILMS, INC. d/b/a PROLOGUE FILMS,                                      STIPULATION
      and                                                                                  OF
      TURNER BROADCASTING SYSTEM, INC.,                                                DISMISSAL
                                                                                          AND
                                                   Defendants.                      PROPOSED ORDER
      ---------------------------------------------------------------------- )(


      PlaintiffMATIUS GERARDO GRIECK d/b/a +ISM and TITLEBOY FILMS, INC.

      d/b/a PROLOGUE FILMS, and TURNER BROADCASTING SYSTEM, INC., by and

      through their respective counsel, have stipulated to this dismissal, without prejudice in

      the above-captioned matter. The parties wishing to avoid further expenditure of

      financial, managerial, and other resources,desire to resolve their present and past

      controversies by way of a Settlement Agreement executedby the parties on May

      10, 2012, the same being incorporated herein by reference. In view thereof, the

      parties, with the assistance of counsel, have agreed that:


                   1. This Court shall retain jurisdiction of the parties in this matter until the
                      Terms of the Settlement are fulfilled;

                   2. Upon fulfillment of the Settlement terms, counsel for Plaintiff shall file a
                      Supplemental Dismissal, dismissing the above captioned matter, with
                      prejudice; and

                   3. Each party is to bear its own fees and costs.
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      By~----------~~----­
      Fr~nk J. Martinez (FJ . -2149)                Tamar Y. Du\ evani (TD-7603)
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        ~lforn ~ . Jiu· Plainttt!: Matius Gerardo   Attor11eys Ji>r D~fendants, Title Boy Films,
        Gneck d/b/a +ISM                            Inc., d/b/a Prologue Films. and Turner
                                                    Broadcasting System, Inc.


                                                    SO ORDERED

                                                                               U.S.D.J
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                                     AFFIDAVIT OF SERVICE

       I hereby certify that a true copy of the foregoing document, Stipulation of Dismissal and
       Proposed Order was served on May 10, 2012 by electronic mail only to:

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       Attorneys for Defendants
       Titleboy Films Inc. and
       Turner Broadcasting Systems, Inc.


       Date: May 10, 2012




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